   1
     MORAN LAW GROUP, INC.
   2 CATHLEEN COOPER MORAN, I.D. #83758
     RENÉE C. MENDOZA, I.D. #139939
   3 1674 N. Shoreline Blvd., Suite 140
     Mountain View, CA 94043-1375
   4 Tel.: (650) 694-4700
     Fax: (650) 694-4818
   5 E-mail: Cathy@moranlaw.net
   6 Attorney for Debtor
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   8
                            UNITED STATES BANKRUPTCY COURT
   9               FOR THE NORTHERN DISTRICT OF CALIFORNIA, DIVISION 4
  10
  11
       In Re:                         )                 Chapter 13
  12                                  )
     ROSEMARY GREENE,                 )                 Bankruptcy No. 17-41704
  13                                  )
                                      )
  14                                  )
                                      )
  15                  Debtor.         )
     ________________________________ )                 HON. CHARLES NOVACK
  16
  17                             AMENDMENT TO SCHEDULES A-B
  18            The debtor hereby amends the schedules in this case as attached hereto and
  19 declares under penalty of perjury that those matters set forth in the amendments are true
  20 and correct to the best of her knowledge and belief.
  21
            10/12/2017
  22 Date: ________________                 /s/ Rosemary Greene
                                           _______________________________________
                                           ROSEMARY GREENE
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Case: 17-41704       Doc# 37    Filed: 10/13/17   Entered: 10/13/17 17:07:06   Page 1 of 10
Case: 17-41704   Doc# 37   Filed: 10/13/17   Entered: 10/13/17 17:07:06   Page 2 of 10
Case: 17-41704   Doc# 37   Filed: 10/13/17   Entered: 10/13/17 17:07:06   Page 3 of 10
Case: 17-41704   Doc# 37   Filed: 10/13/17   Entered: 10/13/17 17:07:06   Page 4 of 10
Case: 17-41704   Doc# 37   Filed: 10/13/17   Entered: 10/13/17 17:07:06   Page 5 of 10
Case: 17-41704   Doc# 37   Filed: 10/13/17   Entered: 10/13/17 17:07:06   Page 6 of 10
Case: 17-41704   Doc# 37   Filed: 10/13/17   Entered: 10/13/17 17:07:06   Page 7 of 10
Case: 17-41704   Doc# 37   Filed: 10/13/17   Entered: 10/13/17 17:07:06   Page 8 of 10
Case: 17-41704   Doc# 37   Filed: 10/13/17   Entered: 10/13/17 17:07:06   Page 9 of 10
Case: 17-41704   Doc# 37   Filed: 10/13/17 Entered: 10/13/17 17:07:06   Page 10 of
                                         10
